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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 CONSUMER FINANCIAL PROTECTION                 )
 BUREAU,                                       )
                                               )
                       Plaintiff,              )
                                               )   C.A. No. 17-1323 (MN)
                  v.                           )
                                               )
 THE NATIONAL COLLEGIATE MASTER                )
 STUDENT LOAN TRUST et al.,                    )
                                               )
                       Defendants.             )
                                          ORDER
       For the reasons stated in the Memorandum Opinion issued on this date, IT IS HEREBY

ORDERED this 26th day of March 2021, that:

       1.     Intervenor Transworld Systems Inc. motion to dismiss pursuant to Fed. R. Civ. P.

12(b)(1) (D.I. 242) is DENIED.

       2.     Intervenors Ambac Assurance Corporation, Pennsylvania Higher Education

Assistance Agency, and Wilmington Trust Company’s motion to dismiss pursuant to Fed. R. Civ.

P. 12(b)(1) and 12(b)(6) (D.I. 300) is GRANTED-IN-PART and DENIED-IN-PART. The

motion is DENIED as to Rule 12(b)(1) and GRANTED as to Rule 12(b)(6) and the Complaint is

dismissed without prejudice.

       3.     The Consumer Financial Protection Bureau’s application for entry of default

pursuant Fed. R. Civ. P. 55(a) (D.I. 295) is DENIED AS MOOT.

       4.     Although it is hardly clear that the Bureau can replead the Complaint to cure the

deficiencies outlined in the Memorandum Opinion, it may file an Amended Complaint on or before

April 26, 2021.


                                                   The Honorable Maryellen Noreika
                                                   United States District Judge
